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 8                                   UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 1:05-cr-00112-DAD-1
12                      Plaintiff,
13           v.                                        ORDER DISMISSING AS MOOT
                                                       DEFENDANT’S MOTION TO REDUCE HIS
14   CERVANDO ALVAREZ,                                 SENTENCE PURSUANT TO 18 U.S.C.
                                                       § 3582(c)(2)
15                      Defendants.
                                                       (Doc. No. 109)
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18           On February 17, 2015, defendant Cervando Alvarez filed a motion to reduce his sentence

19   pursuant to 18 U.S.C. § 3582(c)(2) based upon Amendment 782 to the Sentencing Guidelines

20   which revises the Drug Quantity Table in U.S.S.G. § 2D1.1 and reduces by two levels the offense

21   level applicable to many drug trafficking offenses. (Doc. No. 109.) The court stayed the motion

22   pending the resolution of the Ninth Circuit’s dispositive decision in the case entitled United States

23   v. Shino, No. 15-10208, 2016 WL 4073552 (9th Cir. Aug. 1, 2016). (Doc. No. 133.) On August,

24   1, 2016, in Shino the Ninth Circuit affirmed the district court’s denial of the appellant’s motion

25   for a reduction of sentence brought pursuant to 18 U.S.C. § 3582(c)(2). 2016 WL 4073552 at

26   *1.1 Specifically, the Ninth Circuit reaffirmed that where Amendment 782 applies so as to reduce

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      Based upon the decision in Shino, the Office of the Federal Defender notified this court that it
28   would not be filing a supplemental brief in connection with defendant’s motion. (Doc. No. 138.)
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 1   a defendant’s advisory guideline range, the defendant is ineligible for a sentence reduction under

 2   § 3582(c)(2) if his sentence is already below the minimum of the new range. Id.

 3            In addition, however, on August 3, 2016, the government notified the court that defendant

 4   had been released from the custody of the Bureau of Prisons on December 24, 2015. (Doc. No.

 5   142.) U.S. Sentencing Guideline § 1B1.10(b)(2)(C), which applies to § 3582(c)(2) motions,

 6   provides that “in no event may the reduced term of imprisonment be less than the term of

 7   imprisonment the defendant has already served.” Thus, since defendant has finished serving his

 8   “term of imprisonment,” he is no longer eligible for relief under § 3582(c)(2).2 Accordingly,

 9   defendant’s motion to reduce his sentence has been rendered moot. See United States v. Partida-

10   Vargas, 531 F. App’x 815 (9th Cir. 2013); United States v. Germany, 529 F. App’x 853, 854 (9th

11   Cir. 2013).3

12            For the reasons set forth above:

13            1) Defendant’s motion to reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) (Doc.

14               No. 109) is dismissed as moot; and

15            2) The Clerk of the Court is directed to terminate defendant Cervando Alvarez and close

16               this case as it pertains to him.

17   IT IS SO ORDERED.
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     Dated:     August 10, 2016
19                                                     UNITED STATES DISTRICT JUDGE

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24     Application Note 4(A) to U.S.S.G. § 1B1.10, which is a policy statement applicable to
     § 3582(c)(2), specifically provides that “[o]nly a term of imprisonment imposed as part of the
25   original sentence is authorized to be reduced under this section. This section does not authorize a
26   reduction in the term of imprisonment imposed upon revocation of supervised release.” See U.S.
     v. Morales, 590 F.3d 1049, 1051 (9th Cir. 2010).
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      Citations to these unpublished Ninth Circuit opinions are appropriate pursuant to Ninth Circuit
28   Rule 36-3(b).
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